        Case 8:19-cv-00772-VMC-JSS Document 135-9 Filed 01/31/20
                                                             (   Page 1 of 1 PageID 2944

Postell, Lisa A

From:                         Samantha Ring <samantharing@outlook.com>
Sent:                         Monday, March 04, 2019 11:53 AM
To:                           Postell, Lisa A; Taylor, Ronisha C
Cc:                           Marcy LaHart
Subject:                      Fw: Member



Again- the suspension was issued to me with no reprimand or warning for things other members have done
and AFTER I filed a complaint with your office.



Samantha Ring




From: James Masson <beachologist@hotmail.com>
Sent: Monday, March 4, 2019 7:43 AM
To: allbcycboard@sailbcyc.org
Cc: Samantha Ring
Subject: Member

Dear Board,

This is a brief statement that is a matter of club record. Last year Samantha Ring was·
never issued, even a verbal warning, for her conduct that fell under the purview of the
Fleet Captain. In fact she strived to follow the our rules and policies the best she could. I
did not notice her improper use of electricity and I did notice the improper use of
electricity by multiple other slip occupants who were warned.

Respectfully Submitted,
James Masson




                                                                         EXHIBIT 32




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